







NO









NO. 12-06-00272-CR

&nbsp;

IN THE COURT OF APPEALS 

&nbsp;

TWELFTH COURT OF APPEALS DISTRICT

&nbsp;

TYLER, TEXAS

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp; §&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; APPEAL
FROM THE 411TH

EX PARTE:

§&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; JUDICIAL DISTRICT COURT

MARSHALL SCOTT TAYLOR

§&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; TRINITY COUNTY, TEXAS

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;


MEMORANDUM
OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Marshall
Scott Taylor’s criminal trial ended when the trial court granted his motion for
mistrial.&nbsp; He applied for a writ of
habeas corpus alleging that double jeopardy principles barred a retrial.&nbsp; The trial court denied his application.&nbsp; We affirm.

&nbsp;

Background








&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant was indicted for official
oppression, a class A misdemeanor.&nbsp; See
Tex. Pen. Code Ann. § 39.03
(a)(1), (d) (Vernon 2003).&nbsp; Prior to
trial, Appellant’s attorney filed a motion for discovery requesting, among
other things, information regarding “all inducements offered by the state which
might tend to motivate its witnesses to testify against Defendant.”&nbsp; That portion of the discovery motion was
granted.&nbsp; During trial, Appellant’s
attorney asked a State’s witness, who had been imprisoned previously, whether
anyone had written a letter to the parole board on his behalf.&nbsp; The witness said that he did not know of
anyone writing a letter on his behalf, but he acknowledged that he had heard
the parole board ordinarily consulted with the district attorney before it made
a decision to release a person.&nbsp; Counsel
then told the trial court that he wished to know if the district attorney had
contact with the parole board about the matter.&nbsp;
The trial court inquired of the district attorney, who said that he had
written a letter to the parole board about the witness.&nbsp; The district attorney provided the letter to
Appellant.&nbsp; Subsequently, Appellant’s
attorney moved for a mistrial on the grounds that he would have questioned the
jury panel during voir dire about this issue had he been aware of it.&nbsp; The State did not object to the motion for a
mistrial, and the trial court granted it.&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant subsequently
filed an application for a writ of habeas corpus asking the trial court to
dismiss his indictment on the grounds that a retrial would violate the double
jeopardy protections afforded him by the U.S. and Texas constitutions.&nbsp; The trial court denied the application.&nbsp; This appeal followed.

&nbsp;

Double Jeopardy As Bar After Mistrial

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant argues that the district
attorney’s failure to provide him with a letter written to the&nbsp; parole authorities on behalf of a witness was
prosecutorial misconduct and that the case should be dismissed because the
trial that ended in a mistrial was former jeopardy, which bars his retrial.

Applicable
Law and Standard of Review

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The Double Jeopardy Clause of the
Fifth Amendment to the United States Constitution provides, in pertinent part, “[n]or
shall any person be subject for the same offense to be twice put in jeopardy of
life or limb.” U.S. Const. amend.
V.&nbsp; The Texas Constitution’s double
jeopardy provision states that “[n]o person, for the same offense, shall be
twice put in jeopardy of life or liberty, nor shall a person again be put upon
trial for the same offense, after a verdict of not guilty in a court of
competent jurisdiction.”&nbsp; Tex. Const. art. I, § 14.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; A pretrial writ of habeas corpus is
the appropriate method to challenge a prosecution on the grounds of former
jeopardy.&nbsp; See Ex parte Smith,
178 S.W.3d 797, 801 (Tex. Crim. App. 2005) (“[T]he accused may raise
certain issues [in a pretrial application for a writ of habeas corpus] which,
if meritorious, would bar prosecution or conviction.”).&nbsp; Where the facts are uncontested, we review a
trial court’s decision to grant or deny an application for a writ of habeas
corpus de novo. &nbsp;See Ex parte
Martin, 6 S.W.3d 524, 526 (Tex. Crim. App. 1999).&nbsp; 

Analysis

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On appeal and at the hearing on his
application, Appellant relied principally on three Texas Court of Criminal
Appeals decisions, Bauder v. State, Ex parte Bauder (commonly
referred to as Bauder I and II), and Ex
parte Peterson.&nbsp; See Ex
parte Peterson, 117 S.W.3d 804 (Tex. Crim. App. 2003); Ex parte
Bauder, 974 S.W.2d 729 (Tex. Crim. App. 1998); Bauder v. State,
921 S.W.2d 696 (Tex. Crim. App. 1996).&nbsp;
These cases were binding authority at the time Appellant cited them.&nbsp; However, on January 10, 2007, the Texas Court
of Criminal Appeals delivered Ex parte Lewis, No. PD-0577-05,
2007 Tex. Crim. App. LEXIS 33 (Tex. Crim. App. Jan. 10, 2007).&nbsp; In that decision the court overruled the Bauder
and Peterson decisions, disavowed broader protections
under the Texas Constitution for double jeopardy claims where the defense had
requested a mistrial, and adopted the federal standard for reviewing these
kinds of claims.&nbsp; Id., 2007
Tex. Crim. App. LEXIS 33, at *113 (“As a matter of constitutional law, we adopt
the standard articulated by the United States Supreme Court in Oregon v.
Kennedy [456 U.S. 667, 102 S. Ct. 2083, 72 L. Ed. 2d 416 (1982)]. . . .”).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In Kennedy, which
articulated the standard adopted by the court of criminal appeals, the Supreme
Court addressed the application of the Double Jeopardy Clause after a defendant’s
motion for a mistrial is granted.&nbsp; The
Court noted that “[t]he Double Jeopardy Clause of the Fifth Amendment protects
a criminal defendant from repeated prosecutions for the same offense.”&nbsp; Id., 456 U.S. at 671, 102 S.
Ct. at 2087.&nbsp; As part of this protection
against multiple prosecutions, the Double Jeopardy Clause affords a criminal
defendant a “valued right to have his trial completed by a particular tribunal.”&nbsp; Id.,&nbsp; 456 U.S. at 671–72, 102 S. Ct. at 2087.&nbsp;&nbsp; But there is an exception when it is the
defendant who moves for a mistrial.&nbsp; Id.,
456 U.S. at 673, 102 S. Ct. at 2088.&nbsp; In
those instances, whether retrial is barred will depend on whether the complaint
that provoked the mistrial was a result of actions undertaken by the prosecutor
to “subvert the protections afforded by the Double Jeopardy Clause.”&nbsp; Id., 456 U.S. at 675–76, 102 S.
Ct. at 2089.&nbsp; Relief is appropriate only
where “the government conduct in question is intended to ‘goad’ the defendant
into moving for a mistrial.”&nbsp; Id.&nbsp; In Kennedy, the Court remanded
the case for retrial based on a lower court ruling that the prosecutorial
conduct was not intended to cause a mistrial.&nbsp;
Id., 456 U.S. at 679, 102 S. Ct. at 2091.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In the present case, Appellant
requested a mistrial after learning that the district attorney had written a
letter on a witness’s behalf to the parole board.&nbsp; Appellant describes the failure to provide
the letter as a Brady violation or a potential Brady
violation.&nbsp; See Brady v. Maryland,
373 U.S. 83, 83 S. Ct. 1194, 10 L. Ed. 2d 215 (1963).&nbsp; But even a Brady violation1
does not bar retrial.&nbsp; Id.,
373 U.S. at 90–91, 83 S. Ct. at 1198; Ex parte Mitchell, 977
S.W.2d 575, 581 (Tex. Crim. App. 1997).&nbsp;
Whether it is a discovery violation or not, the failure to provide this
letter prior to trial was simply not an action by the prosecutor intended to
goad Appellant into moving for a mistrial or to subvert the double jeopardy
protections of the U.S. or Texas constitutions.&nbsp;
Rather, Appellant elected to terminate the trial after discovery of the
letter.&nbsp; He got the relief he
requested.&nbsp; See United States v.
Scott, 437 U.S. 82, 93, 98 S. Ct. 2187, 2195, 57 L. Ed. 2d 65 (1978) (A
defendant’s motion for a mistrial is “a deliberate election on his part to
forgo his valued right to have his guilt or innocence determined before the
first trier of fact.”).&nbsp; We overrule
Appellant’s sole issue.

&nbsp;

Disposition

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We affirm the
judgment of the trial court.&nbsp; 

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp; &nbsp;SAM GRIFFITH &nbsp;&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp; Justice

&nbsp;

&nbsp;

Opinion delivered March 14, 2007.

Panel
consisted of Worthen, C.J., Griffith, J and Hoyle, J.

&nbsp;

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(DO NOT PUBLISH)











1 It is not clear that the letter was exculpatory evidence.&nbsp; The recipient of the district attorney’s
largess testified that he did not know if the prosecutor had written a letter
and there is no evidence to the contrary.







